Case 2:98-cr-00702-SDW   Document 63   Filed 04/25/07   Page 1 of 8 PageID: 8
Case 2:98-cr-00702-SDW   Document 63   Filed 04/25/07   Page 2 of 8 PageID: 9
Case 2:98-cr-00702-SDW   Document 63   Filed 04/25/07   Page 3 of 8 PageID: 10
Case 2:98-cr-00702-SDW   Document 63   Filed 04/25/07   Page 4 of 8 PageID: 11
Case 2:98-cr-00702-SDW   Document 63   Filed 04/25/07   Page 5 of 8 PageID: 12
Case 2:98-cr-00702-SDW   Document 63   Filed 04/25/07   Page 6 of 8 PageID: 13
Case 2:98-cr-00702-SDW   Document 63   Filed 04/25/07   Page 7 of 8 PageID: 14
Case 2:98-cr-00702-SDW   Document 63   Filed 04/25/07   Page 8 of 8 PageID: 15
